                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NORTHEASTERN DIVISION

DAVID CHERRY, personal                           )
representative of the ESTATE                     )
OF PAMELA CHERRY                                 )
                                                 )
       Plaintiff                                 ) CIVIL ACTION NO. 2:12-cv-00043
                                                 )
VERSUS                                           ) JUDGE TRAUGER
                                                 ) MAGISTRATE JUDGE KNOWLES
MACON HOSPITAL, INC. d/b/a                       )
MACON COUNTY GENERAL                             )
HOSPITAL, HANNA C. ILIA, M.D.,                   )
JAMES BARLOW, JIMMY PHILPOTT,                    )
CELINA FIRE DEPARTMENT EMS                       )
and CLAY COUNTY E911 BOARD,                      )
                                                 )
       Defendants                                )


                  MOTION FOR SUMMARY JUDGMENT
           ON BEHALF OF JAMES BARLOW AND JIMMY PHILPOTT


       Come the defendants, James Barlow and Jimmy Philpott, pursuant to Rule 56 of

the Federal Rules of Civil Procedure, and move the Court to dismiss them and to grant

summary judgment in this case. There are no material issues of fact in dispute, and these

defendants are entitled to be dismissed as a matter of law because they have total

personal immunity pursuant to Tennessee Code Annotated, § 29-23-310(c) and the

Tennessee Supreme Court holding in Hill v. Germantown, 31 S.W.3d 234 (Tenn. 2010),

and its progeny.



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      Attached is a Memorandum of Law in Support of this Motion. Also attached are

the Affidavit of Kristy Copas and a Statement of Material Facts to Which There is No

Genuine Issue.

                                 Respectfully submitted,

                                 MOORE, RADER AND
                                 FITZPATRICK, P. C.

                                 By s/Daniel H. Rader III, B.P.R. No.002835
                                       Attorneys for Defendants,
                                       James Barlow,
                                       Jimmy Philpott and
                                       Town of Celina,
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                                   By s/Daniel H. Rader IV, B.P.R. No.025998
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                               CERTIFICATE OF SERVICE

        I hereby certify that on December 20, 2013, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic
filing system to all parties indicated on the electronic filing receipt. All other parties will
be served by regular U.S. Mail. Parties may access this filing through the Court’s
electronic filing system:

       Mr. D. Bruce Kehoe                          Ms. Mary Ann Stackhouse
       Ms. Kelly M. Scanlan                        Lewis, King, Krieg & Waldrop, P.C.
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       Mr. Joseph Paul Bednarz, Sr.                Mr. Brent A. Kinney
       Mr. Joseph Paul Bednarz, Jr.                Mr. Michael F. Jameson
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                                                   Nashville, TN 37215
       Ms. Lisa M. Carson
       Buerger, Mosselley & Carson, PLC
       306 Public Square
       Franklin, TN 37064

       This the 20th day of December, 2013.

                                    MOORE, RADER AND
                                    FITZPATRICK, P. C.
                                    By s/Daniel H. Rader III, B.P.R.No. 002835
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